                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE


    UNITED STATES OF AMERICA,                         )
                                                      )
    v.                                                )           No. 3:07-CR-44
                                                      )           (PHILLIPS/SHIRLEY)
    DEBORAH NOMMENSON, ET AL                          )
                                                      )


                           ORDER ON DISCOVERY AND SCHEDULING


    TO COUNSEL OF RECORD: PLEASE READ AND FOLLOW THIS CAREFULLY. IT
    AFFECTS YOUR CLIENTS RIGHTS.

                  The defendant(s) having requested Rule 16, Fed.R.Cr.P., discovery, the government
    shall comply with Rule 16(a)(1)(A)-(F) by June 19, 2007 (Reciprocal Discovery Due July 31, 2007)
    and shall supplement that disclosure as necessary under Rule 16, Fed.R.Cr.P., as follows in
    paragraphs A and B:

               A.   The government shall permit the defendant to inspect and copy the following items
                    or copies thereof, or supply copies thereof, which are within the possession, custody
                    or control of the government, the existence of which is known or by the exercise of
                    due diligence may become known to the attorney for the government:

                    1.     Any relevant written or recorded statements made by the defendant, and that
                           portion of any written record (including rough notes) containing the sub-
                           stance of any relevant oral statement made by defendant before or after arrest
                           in response to interrogation by any person then known to the defendant as
                           a government agent.

                    2.     The defendant's arrest and conviction record.

                    3.     Results or reports of physical or mental examinations, and of scientific tests,
                           including, without limitation, any handwriting analysis or experiments,
                           which are material to the preparation of the defense or are intended for use
                           by the government as evidence in chief at the trial, and, as soon as possible
                           but at least three weeks before trial, unless the Court orders otherwise.




Rev. 8/13/04



   Case 3:07-cr-00044-TAV-DCP            Document 11        Filed 06/12/07       Page 1 of 5      PageID
                                                #: 6
        B.       The government shall permit the defendant to inspect and copy the following items or
                 copies or portions thereof, or supply copies or portions thereof, which are within the
                 possession, custody or control of the government, or the existence of which is known or
                 by the exercise of due diligence may become known to the government:

                 1.      The substance of any other relevant oral statement made by defendant before or
                         after his arrest in response to interrogation by a then known to be government
                         agent if the government intends to use that statement at trial.

                 2.      Recorded grand jury testimony of the defendant relating to the offenses charged.

                 3.      Books, papers, documents, photographs, tangible objects, buildings or places
                         which are material to the preparation of the defendant's defense1 or which the
                         government intends to use as evidence at trial to prove its case-in-chief, or were
                         obtained from or belong to each defendant.

        C.       Upon receipt by a defendant of materials described in Rule 16(a)(1)(E) or (F), the
                 defendant shall comply with Rule 16(b)(1)(A) and (B) and permit the government to
                 inspect and copy the following items, or copies thereof, or supply copies thereof, which
                 are within the possession, custody or control of the defendant and which defendant
                 intends to use at trial in defendant's case-in-chief.

                 1.      Books, papers, documents, photographs or tangible objects which each defendant
                         intends to introduce as evidence in chief at trial.

                 2.      Any results or reports of physical or mental examinations and of scientific tests
                         or experiments made in connection with this case which the defendant intends
                         to introduce as evidence in chief at trial, or which were prepared by a defense
                         witness who will testify concerning the contents thereof. Unless otherwise
                         ordered by the Court, these shall be produced one week before trial.

        D.       If a defendant intends to rely upon the defense of insanity at the time of the alleged
                 crime, or intends to introduce expert testimony relating to a mental disease, defect or
                 other condition bearing upon the issue of whether he had the mental state required for
                 the offense charged, he shall give written notice thereof to the government as required
                 by Rule 12.2(a)-(b), Fed.R.Cr.P.

        E.       The government shall reveal to the defendant and permit inspection and copying of all
                 information and material known to the government which may be favorable to the


    1
     The United States Supreme Court has held that the phrase "material to the preparation of the defendant's
defense" as used in Rule 16(a)(1)(E)(i), Fed.R.Cr.P. (formerly Rule 16(a)(1)(C)), means material to the defendant's
direct response to the government's case-in-chief. In other words, "the defendant's defense" encompasses only that
part of the defendant's defense which refutes the government's arguments that defendant committed the crime
charged. United States v. Armstrong, 517 U.S. 456 (1996).

Rev. 8/13/04                                            2

   Case 3:07-cr-00044-TAV-DCP                Document 11          Filed 06/12/07        Page 2 of 5       PageID
                                                    #: 7
               defendant on the issues of guilt or punishment within the scope of Brady v. Maryland,
               373 U.S. 83 (1963), United States v. Agurs, 427 U.S. 97 (1976) (exculpatory evidence),
               and United States v. Bagley, 473 U.S. 667 (1985) (impeachment evidence). Timing of
               such disclosure is governed by United States v. Presser, 844 F.2d 1275 (6th Cir. 1988).

        F.     The government shall obtain the record of prior convictions, if any, of any witness who
               will testify for the government at trial so that the record will be available to the defendant
               at trial.

        G.     Upon request, the government shall state whether the defendant was identified in any
               lineup, showup, photo spread or similar identification proceeding, and produce any
               pictures utilized or resulting therefrom.

        H.     The government shall advise its agents and officers involved in this case to preserve all
               rough notes.

        I.     Upon request, the government shall provide reasonable notice in advance of trial, or
               during trial if the court excuses pretrial notice on good cause shown, of the general
               nature of any Rule 404(b)-type evidence it intends to introduce at trial. Unless otherwise
               ordered by the Court "reasonable notice" shall be deemed to be seven (7) calendar days
               before trial.

        J.     The government shall state whether the defendant was an aggrieved person as defined
               in 18 U.S.C. §2510(11), of any electronic surveillance, and if so, shall set forth in detail
               the circumstances thereof.

        K.     Upon request, the government shall provide the defense, for independent expert
               examination, copies of all latent fingerprints or palm prints which have been identified
               by a government expert as those of the defendant.

        L.     Unless otherwise ordered by the Court, any disclosure of expert information required by
               Rule 16(a)(1)(G), Fed.R.Cr.P., shall be made by the government at least three (3) weeks
               before trial. Any disclosures required by Rule 16(b)(1)(C) shall be made by defendant
               at least one (1) week before trial unless the Court orders otherwise.

        M.     If transcripts of recorded conversations will be prepared for use at trial, counsel shall
               meet and confer and devise a plan for authentication of those transcripts to be suggested
               to the undersigned at any status conference called by the Court and in any event not later
               than the time of the pretrial conference. Every effort shall be made to stipulate the
               authenticity of any such transcripts without the necessity of court intervention. Counsel
               are directed to familiarize themselves with United States v. Robinson, 707 F.2d 872 (6th
               Cir. 1983), which describes the procedures for determining the admissibility of tape
               recordings and transcriptions thereof.




Rev. 8/13/04                                         3

   Case 3:07-cr-00044-TAV-DCP             Document 11         Filed 06/12/07       Page 3 of 5       PageID
                                                 #: 8
        N.      The parties shall make every possible effort in good faith to stipulate all facts or points
                of law, the truth and existence of which is not contested and the early resolution of which
                will expedite the trial. No stipulation made by defense counsel shall be used against the
                defendant unless the stipulation is reduced to writing and signed by the defendant and
                his counsel.

        O.      The government is strongly encouraged to reveal Jencks Act materials to defense counsel
                as soon as possible and well before the testimony of government witnesses in order to
                avoid undue interruptions of trials.


                It shall be the continuing duty of counsel for both sides to immediately reveal to opposing

counsel all newly discovered information or other material within the scope of this Order.

                Upon a sufficient showing, the Court may at any time, upon motion properly filed, order

that the discovery or inspection provided for by this order be denied, restricted or deferred, or make such

other order as is appropriate. It is expected by the Court, however, that counsel for both sides shall

make every good faith effort to comply with the letter and spirit of this Order.

                All motions shall be filed in this case no later than July 10, 2007. Responses to those

motions will be due on July 24, 2007. All motions that require a brief shall be accompanied by a

separate brief or they may be subject to summary denial. Motions will be decided in accordance with

Local Rule 7.2. Normally, if a motion requires an evidentiary hearing, that hearing will be scheduled

before the undersigned at least two weeks in advance of trial or will be held in conjunction with the final

pretrial conference.

                Any plea negotiations shall be concluded by N/A.

                A pretrial conference shall be held before Magistrate Judge C. Clifford Shirley, Jr., at

1:30 p.m. on July 31, 2007. Attached hereto are written instructions for that conference. If you desire

to use the court's Digital Evidence Presentation System at any pretrial hearing or at trial, you should give




Rev. 8/13/04                                         4

   Case 3:07-cr-00044-TAV-DCP             Document 11         Filed 06/12/07      Page 4 of 5       PageID
                                                 #: 9
Deputy Clerk Helen Spears at least three working days' notice before the hearing or trial, telephoning

her at 865/545-4228 between the hours of 8:00 a.m and 4:00 p.m.

               This matter is set for trial before a United States District Judge and a twelve person jury

at 9:00 a.m. on August 13, 2007. If counsel have any special requests for instructions to the jury, the

same shall be filed at least five working days before trial.

               The government shall file all motions for a departure under section 5K1.1 of the United

States Sentencing Guidelines or for a sentence below a statutory mandatory minimum at least five

working days before the sentencing hearing. Defendants seeking a downward departure must also, in

writing, notify the court and the government of any request for a downward departure, and the grounds

therefore at least five working days before the sentencing hearing. Failure to timely comply with this

rule may result in a denial of a sentence reduction. (Local Rule 83.9(k)) If there is a conviction in this

case, the sentencing proceedings are governed by Local Rule 83.9, EDTN.

               One principal purpose of this discovery order is to avoid the necessity of counsel for the

defendant(s) filing routine motions for routine discovery. Accordingly, counsel for the defendant(s)

shall make a request of the government for each item of discovery sought and be declined the same prior

to the filing of any motion.

               As soon as motions are filed in a criminal case, the Clerk is directed to bring such

motions to the attention of the cognizant magistrate judge.



               IT IS SO ORDERED.

                                                 s/ C. Clifford Shirley, Jr.
                                               United States Magistrate Judge




Rev. 8/13/04                                        5

   Case 3:07-cr-00044-TAV-DCP            Document 11           Filed 06/12/07    Page 5 of 5      PageID
                                               #: 10
